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U.S. COURTS
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Pro Se
IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF IDAHO
RAUL MENDEZ,
Plaintiff, CaseNo. [1 (Y-ev-49- REB
Vs. NOTICE OF REMOVAL AND
COUNTERCLAIM

CITY OF BOISE, a municipal corporation.
CITY OF BOISE MAYOR DAVID BIETER
and CITY OF BOISE COUNCIL. CITY OF
BOISE PUBLIC WORKS DEPARTMENT
SR MANAGER HEATHER BUCHANAN,
KIMBERLEE IRBY, SHAWN STEIGER,
JOSEPH HODGES and any other agents and
employees of the CITY OF BOISE

PUBLIC WORKS DEPARTMENT. .
DEBBIE ALLEN and SCOTT MUIR and any
other employees of the CITY OF BOISE
LEGAL DEPARTMENT.

Defendant.

 
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COMES NOW RAUL MENDEZ, plaintiff pro se and for cause of action against the

above-named defendants does complain and alleges as follows:
NATURE OF THE CASE

1) Mr. Mendez is removing Small Claims Case No. CV01-19-00229 filed by Defendant at the
Ada County Courthouse pursuant to 28 U.S.C. 1441 and 1446. The Small Claim involves

questions of Federal Law.

2) Mr. Mendez brings a Counterclaim pursuant to F.R.C.P 13 as the US District Court of Idaho
has subject matter jurisdiction. The legal issue in question at the Small claim is whether a

government entity can make any unused service mandatory.

3) Mr. Mendez seeks damages for the violation of his fifth and fourteenth amendments under the

constitution. 42 U.S.C. 1983.

4) Mr. Mendez seeks damages afforded to him for violations under the Fair Debt Collections

Practices Act (FDCPA). 15 U.S.C. 1692.

5) Mr. Mendez seeks damages for Defendant's breaching the Terms & Conditions agreed on the

Residential Request for Vacancy Status application.

6) Mr. Mendez seeks damages for Defendant's Intentional Infliction of Emotional Distress.

7) Mr. Mendez seeks damages for Defendant maliciously injuring his reputation.
PARTIES

8) At all times relevant herein, Mr. Mendez was, and is an adult individual and a citizen of the

United States who has resided in Ada County.

 
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9) The City of Boise is a municipal corporation of Idaho.
JURISDICTION AND AVENUE

10) The Court has jurisdiction of this matter pursuant to the Const. Amend. V. Amend. XIV.

The Fair Debt Collections Practices Act (FDCPA). 15 U.S.C. 1692.

11) As the events giving rise to this action all occurred in the State of Idaho, venue is

appropriate in the District of Idaho pursuant to 28 U.S.C. 1391 (a) (2).
FACTS COMMON TO ALL CAUSES OF ACTION

Mr. Mendez has spent two years communicating with the City of Boise in regards to what they
claim is a mandatory ‘base fee' for an unused sewer. Mr. Mendez home in Boise is currently
vacated since he takes care off his disabled mother at her home; so that she is not

institutionalized. Because his home is vacated there is no sewer usage.

 

12) On 4/30/2017, Mr. Mendez asked the Department of Public Works at the City of Boise how
to discontinue the sewer service since there is no usage as a result of him spending time at his

mother's home.

13) On 5/2/2017, Shawn Steiger who works as a ‘utility services specialist! told Mendez that he

could apply for a 'vacancy' but that a vacancy does not remove the base fee.

14) On 5/3/2017, Mr. Mendez asked Public works for evidence showing that not having
mandatory sewer and trash service is endangering /not maintaining the public health, safety and
aesthetics of Boise. Indeed, Mr. Mendez questioned if such mandate infringes into people's

liberty and property interests.
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15) On 5/4/2017, Mr. Mendez submitted the "Residential Request for Vacancy Status
application." The Terms and Conditions indicate among other things the following: 2) No
Sewer or Trash services will be used while the property is in vacancy status.......5) If the city of
Boise determines sewer or trash service has been used or trash and/or recycle carts are set out
while the property is vacancy status, I agree to pay occupied rates for the entire vacancy period.
However, there is nothing under Terms & Conditions indicating that residents are responsible for

paying a 'base fee' for unused services while property is vacant.

16) On 5/5/2017, Shawn Steiger told Mr. Mendez that a vacancy or financial hardship will not

affect the base fee charged for sewer services. .

17) On 5/7/2017, Mr. Mendez told Public Works that most utilities will stop service after

non-payment which is how it should be.

18) On 5/12/2017, Mr. Mendez asked Public Works if the trash and sewer services have always

 

been mandatory in Boise and if so, since when? and if not then what lead to the decision to

make it mandatory? he got no response.

19) On 10/3/2017, Kimberlee Irby who is a manager in Public Works, told Mr. Mendez that the
base fee is charged to cover the basic infrastructure in place for sewer or trash service whether

home is vacant or not.

20) On 10/3/2017, Mr. Mendez told Public works that there is no waste disposal at his home
therefore there are no associated health hazards. Why should he pay for an unused service? He
asked the City of Boise why should people be deprived of their rights/liberties by being

subjected to collections, liens, legal actions, etc. when not using utility services?
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21) On 3/22/2018, Mr. Mendez told Public Works that other utilities like Intermountain gas and
Suez water also charge a base fee for used services; but no base fee is charged if you contact

those utility companies to disconnect service and while service is not utilized.

22) On 3/23/2018, Kimberlee Irby told Mr. Mendez that the City of Boise is unlike other
utilities, in that we do not stop service, per city ordinance. Thus the reason a base fee is

charged......... however, the base fee would be waived by plugging an unused sewer.

23) On 3/26/2018, Mr. Mendez asked Ms, Irby why he should pay to plug the sewer when your

records show there is no usage? he got no response.

24) On 4/25/2018, Mr. Mendez told Public Works that the problem with the ordinance lies in the
fact that you cannot make it a law to take trash out or use sewer when there are too many
instances where people are just not taking trash/using sewer for whatever reason; therefore, there
are no risks to public health, safety or aesthetics. In short, the ordinance is greed covered as

some public interest.

25) On 5/4/2018, Joseph Hodges another Utility Services specialist told Mr. Mendez that "if you,
a) after obtaining the proper permits, B) cap the sewer and c) have the work inspected by an
agent of the City of Boise; then you will no longer be responsible for the base fee of the sewer."
He also suggested to contact the city council since they have the ability to implement the kind of

changes you're requesting.

26) On 5/12/2018, Mr. Mendez told Public Works that if there is no usage then there is nothing
for Boise to do maintenance on and there is no threat to public health or safety. Mendez further
asked Boise how often they do maintenance on residential sewer lines? Mr. Mendez also

contacted the Boise Mayor on 5/12 but got no responses to his specific inquiries.

 
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27) On 7/5/2018, Mr. Mendez copied and pasted section 8-11-11.04 disconnection of sewer for
non-payment for Public Works review. The ordinance indicates that sewer service will be
disconnected for failure to pay the sewer fees; therefore, it is not mandatory. Mr. Mendez noted

that there is nothing on the ordinance pertaining to paying fees for unused services.

28) On 7/6/2018, Joseph Hodges told Mr. Mendez that the account goes before "a sewer
termination hearing" prior to the decision being made to disconnect the service. He also

indicated that the account is sent to collections and reported to the credit bureau.

29) On 7/12/2018, Mr. Mendez noted to Public Works that the City of Boise is acting outside it's

ordinance by sending people to collections or reporting them to the credit bureau with the

 

intended goal to negatively impact consumer's credit.

30) On 7/16/2018, Mr. Mendez contacted the City Council after he got no response from the
Mayor and after Public Works advise him they were the ones with authority to act on his request.
Mendez asked the Council to waive the base fee for sewer service that it's on record as not being

utilized.

31) On 7/17/2018, Heather Buchanan, A Senior Manager at Public Works told Mr. Mendez that
section 8-11-06.04, A.3 fixed charge for zero use explains that the base fee is used to cover the
costs attributable to providing basic office staff for the administration of Boise city sewer
system. She also indicated that in the solid waste ordinance 8-10-01.06mm; vacant property is
defined as: unoccupied property, not currently used. However; she also indicated that Boise
defines vacant property as when no premise is upon the land; therefore, no sewer or trash would

be waived even if my home was vacated.

32) On 7/19/2018, Mr. Mendez copied and pasted sewer section 8-11-06.01 annual review of
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fees for Public Works review. This section indicates that the fees imposed by the ordinance
shall be reviewed annually and revised periodically. Mendez asked Public Works how does the
annual review of fees work? he got no response. He also copied and pasted trash section
8-10-05.03 for Public Works review. This section of the ordinance indicates that fees are
waived when people reside outside of Boise for extended periods or under unusual

circumstances.

33) On 9/13/2018, Debbie Allen at the Legal Department told Mr. Mendez that the ordinances
are clear that regardless of whether you reside in your home or not, as the owner of the home you

are responsible for payment of the services provided.

34) On 11/3/2018, Mr. Mendez told the Legal Department that 1) the sewer service is not being
used because he is not residing in Boise, 2) Boise has a precedent of waiving other utilities for
unusual circumstances including customers not residing at their home in Boise, 3) Boise has told

Mendez that the base fee for unused services can be waived as long as he pays to plug an unused

 

sewer, so basically is this about the service being mandatory regardless of the fact one is residing

at their homes?

35) On 12/13/2018, Mr. Mendez received a letter from the City of Boise legal department in
regards to the 'claims Boise has against you.' The letter acknowledges that Mr. Mendez has
been in contact with various staff at the City of Boise for months. The letter does not specify
that the alleged debt is for a base fee on an unused sewer. Attorneys for the City of Boise
threatened Mr. Mendez with legal action if Boise does not receive either full payment or the

hardship exemption form within 15 days.

36) On 12/27/2018, Mr. Mendez responded to the City of Boise legal department. He clarified
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that Boise is requesting payment for a ‘base fee' on an unused sewer; noting that Mr. Mendez has
told the same explanation multiple times to several staff. Mr. Mendez also reiterated that the
reason there is no sewer usage is because his home is currently vacated. Furthermore, Mr.
Mendez submitted the ‘Residential Request for Vacancy Status application" on 5/4/2017. Mr.
Mendez noted that for several months he has received inconsistent and misleading information
by the City of Boise. Mr. Mendez noted that Boise being a government entity that they have to
prove they are entitled to a mandatory fee on an unused sewer without violating the
constitutional rights of people. Mr. Mendez noted that it would be frivolous for the City of

Boise to pursue legal action in light of the facts.

37) On 1/4/2019, Attorneys for the City of Boise filed a Small claims action in Ada County for
the amount of $129.05 and other miscellaneous fees. The basis for the claim is "failure to pay

mandatory sewer services provided by the City of Boise pursuant to Boise City Code 8-11."

38) On 1/18/2019, Mr. Mendez filed an Answer, Motion to Dismiss, and Affidavit in Support of
Motion to Dismiss. Mr. Mendez denies that he owes any money to Boise. He noted on his
pleadings that the City of Boise did not provide him with any kind of adequate procedural
protection to challenge the base fee on an unused sewer in violation of the Due Process Clause;
instead they filed a malicious Small claim action. Mr. Mendez noted in his pleadings that Boise
did not provide him the 30 days required to dispute the debt in violation of the Fair Debt
Collections Practices Act and they filed the Small Claims within the 30 days provided by Federal
Law to dispute it. Boise did not indicate in their letter that he could dispute the debt within 30
days because the Attorneys do not specify that the amount in question relates to a ‘base fee’ on an
unused sewer. Mr. Mendez noted that the legal issues were questions of Federal Law and it was

inappropriate for Boise to file a Small Claim rather than sue Mr. Mendez in the US District Court

 
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of Idaho which has subject matter jurisdiction.

39) On 1/23/2019, Boise Attorneys filed a Response to Mendez Motion to Dismiss Small! Claim

noting that Idaho Code1-2309 does not allow for formal pleadings at the Small Claims setting.
CAUSES OF ACTION

A. VIOLATION OF CONSTITUTIONAL RIGHTS UNDER U.S. CONST. AMEND. V.

AND U.S. CONST. AMEND. XIV. 42.U.SC. 1983.

40) The Boise City Council and Boise Mayor have the final say in having drafted a Trash and

 

Sewer Ordinances that deliberately violates the Constitutional rights of Boise residents.

41) The Boise City Council and Boise Mayor have instructed City of Boise staff to implement
the unconstitutional policy that deprives Boise residents of their life, liberty and property. The
City of Boise have told Mr. Mendez that Sewer and trash services are mandatory regardless of
the fact they are being used. Specifically, there is a base fee' when the services are not utilized
in cases such as when a property is vacant. The base fee would be waived by plugging an

unused sewer.

42) The City of Boise does not have a procedural due process to challenge actions stemming
from the unconstitutional policy and as a result Mr. Mendez life, property and liberty interests
have been violated. Attorneys for the City of Boise filed legal action without having provided
Mr. Mendez with an adequate procedural protection giving him the opportunity to be heard and
object to the 'base fee' on the unused sewer. Furthermore, Mr. Mendez was instructed by staff to
contact the Mayor and the City Council since they had the ability to waive the unconstitutional

fee but he got no responses from the authorities.
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43) Due Process requires clear ascertainable standards to avoid the risk of arbitrary
decision-making. Correspondence from Boise Attorneys on 12/13/2018 does not indicate that
Mr. Mendez can dispute the charge, and it does not specify that the amount in question is a 'base
fee' for unused sewer. The letter is misleading and it was sent after Mr. Mendez received a
number of inconsistent explanations by staff over the course of two years. The 'Residential
Request for Vacancy Status application’ terms and conditions don't indicate that residents are

responsible for paying a 'base fee' for unused services while property is vacant.

B. VIOLATIONS OF RIGHTS UNDER THE FAIR DEBTCOLLECTIONS

PRACTICES ACT (FDCPA).15 U.S.C. 1692.

44) The FDCPA bars the City of Boise from collecting charges not permitted by law, to take

action that cannot legally be taken, and to use false representations or deceptive means to collect

 

or attempt to collect the debt.

45) The city ordinances making trash and sewer services mandatory violate constitutional rights.
Specifically, Boise have told Mr. Mendez that there is a mandatory ‘base fee' for unused services.
Since, the Ordinances violate Mendez Constitutional rights then the charges for unused services
are not permitted by law. The frivolous small claim action filed by the City attorneys is an
action that is not warranted under existing law. Mr. Mendez has received a number of
inconsistent/misleading information by staff over two years regarding the 'base fee' for an unused
utility on vacant property. The city attorneys sent Mr. Mendez a demand for payment letter that
does not give Mr. Mendez an opportunity to dispute the debt within 30 days and their legal
action took place within the 30 days provided by Federal law. Furthermore, the letter is

misleading in that it does not specify that the amount in question relates to the 'base fee! for an
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unused sewer.

C. BREACH OF THE IMPLIED COVENANT OF GOOD FAITH AND FAIR

DEALING AND BREACH OF CONTRACT.

46) Mr. Mendez submitted a "Residential Request for Vacancy Status application" to the City of
Boise in which terms and conditions:it is understood that Mendez will not be using sewer/taking

trash while property was vacated.

47) The terms and conditions of the agreement also state that if the city of Boise determines
sewer or trash service has been used or trash and/or recycle carts are set out while the property is

vacancy status, I agree to pay occupied rates for the entire vacancy period.

48) Mr. Mendez has received a number of misleading statements over the course of two years by

 

the City of Boise staff that violate this agreement; including that the application does not waive
the 'base fee' even though there is nothing under Terms & Conditions indicating that residents are

responsible for paying a 'base fee' for unused services while property is vacant.

49) Staff misrepresented to Mendez that Boise defines vacant property as when no premise is
upon the land; therefore, no sewer or trash would be waived even if his home was vacated. Mr.
Mendez was told the mandatory base fee would be waived by paying to plug an unused sewer. In

short, Boise has intentionally breached the agreement.

D. INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS.

50) City Attorneys representing Boise have sent a letter coercing Mr. Mendez into either paying
the 'base fee'/complete hardship form within 15 days or else face legal action. Nowhere do they

indicate that the fee can be contested.

51) City Attorneys did not like Mr. Mendez response. The Attorneys indeed filed a frivolous
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and malicious small claim just 6 days after the response rather than sue in Federal Court.

52) The City of Boise does not have the authority to coerce people into doing something in order
to satisfy their unconstitutional Ordinances. Mr. Mendez notes that in Idaho in order to
disqualify themselves from immunity, government employees must not only act wrongfully, they

must also act with ill will.

53) A license to practice law does not give Mr. Muir and company a license to mistreat people
by filing malicious suits harming people. Such outrageous conduct by the City of Boise staff

and its Attorneys have cause Mr. Mendez emotional distress.

54) Mr. Mendez has filed a timely Notice of Tort Claim with the City of Boise pursuant to I.C.
6-905, 6-908.

55) Mr. Mendez understands that this Court has discretion to retain jurisdiction on the state

claims to accommodate the objectives of economy, convenience and fairness.

E. DAMAGE TO REPUTATION.

 

56) Staff with the City of Boise have sent Mr. Mendez to the City's collection department, they
have indicated that Mr. Mendez has been reported to the credit bureau, and the City Attorneys
filed a Small Claim action even when Mr, Mendez constitutional rights and rights under the
FDCPA have been violated. Mr. Mendez notes that in Idaho in order to disqualify themselves
from immunity, government employees must not only act wrongfully, they must also act with ill

will.

57) Such conscious disregard of the rights of Mr. Mendez have resulted in damage to his
reputation since creditors have access to Mendez credit report and the Small claim is public

record indicating that he was sued for 'failing to pay mandatory sewer service.'

DEMAND FOR JURY TRIAL

Pursuant to Rule 38 (b) of the Federal Rules of Civil Procedure, Mr. Mendez hereby demands a

trial by jury on all issues properly triable to a jury in this action.
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CONCLUSION

Mr. Mendez brings this suit first and foremost as a constitutional challenge to government
making services mandatory. The City of Boise is just one of many local government entities
who have made trash and sewer mandatory. The City of Meridian for example have made
water, sewer, and trash mandatory and included all in one bill. Meridian does not even have any
waiver of any of the utilities even for low-income people. If you cannot pay one service
Meridian will disconnect all three of them. Furthermore, Mr. Mendez has submitted public
records request to some of the local governments including Boise regarding how much money
Republic Services donated to local public officials. Boise and other municipalities have denied
the request but have indicated that the trash contractor has given money to public officials. Mr.
Mendez believes that the ordinances mandating trash services have been largely influenced by
private interests and if he succeeds on this suit it would help local Idaho residents. Mr. Mendez

believes a temporary or permanent injunction are appropriate on this case but he cannot afford a

bond.
PRAYER FOR RELIEF
WHEREFORE, Mr. Mendez requests judgment against the corporation as follows:

1. Award Mr. Mendez compensatory and punitive damages for the violation of his

constitutional rights under 42 U.S.C. 1983.

2. Award Mr. Mendez compensatory and damages for the violation of his rights under the Fair

Debt Collections Practices Act 15 U.S.C. 1692.

3. Award Mr. Mendez compensatory damages for breach of implied covenant of good faith and

 
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fair dealing and breach of contract.

4. Award Mr. Mendez compensatory and punitive damages for Defendant's intentional

infliction of emotional distress.

5. Award Mr. Mendez compensatory and punitive damages for Defendant's intentionally

harming his reputation.

6. Award Mr. Mendez the costs of this action, including reasonable attorney' fees should he

retain one in the future.
7, A Declaration from the Court that City Ordinances cannot make services mandatory,

8. Award Mr. Mendez such other and further legal and equitable relief as the Court deems just

and proper.

DATED: _ February 6, 2019

Morr pee

Raul Mendez

 
